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                                                 March 24, 2023



VIA ECF

The Honorable Ona T. Wang
United States Courthouse
500 Pearl Street
New York, NY 10007-1312


       Re:     Cassava Sciences, Inc. v. Bredt, et al., No. 22-cv-9409(GHW)(OTW): Joint
               Status Letter Pursuant to March 8, 2023 Order of Magistrate Judge Ona T. Wang
               (Dkt. 85)

Dear Judge Wang:

       Pursuant to the Court’s directive at the March 8, 2023 status conference, counsel

for Plaintiffs and Defendants met and conferred on March 15, 2023 regarding the issuance

of third party preservation notices. Plaintiff has issued preservation notices to all third

parties identified in its Rule 26(a) disclosures. Defendants will have sent by close of

business today preservation notices to all third parties identified in their Rule 26(a)

disclosures, with the exception of persons and entities affiliated with Cassava, The City

College of New York (“CUNY”), and IMIC Inc., who will have or will be receiving

preservation notices from counsel for Cassava.        Plaintiff and Defendant QCM are

continuing to meet and confer regarding the issuance of preservation notices to unnamed

individuals referred to in the QCM Report, but not identified in QCM’s Rule 26(a)

disclosures.




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       The Parties anticipate that they will resolve all issues by March 31, 2023, and

respectfully request an additional week to provide the Court with confirmation that these

issues have been resolved.


                                                Respectfully submitted,

                                                BENESCH, FRIEDLANDER,
                                                 COPLAN & ARONOFF LLP




                                                Timothy Frey
                                                Counsel for Cassava Sciences, Inc.




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